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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY
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  U.S. SECURITIES AND EXCHANGE
  COMMISSION,

                            Plaintiffs,                         Docket No.: 18-CV-9284-MCA-MAH

          -against-                                             NOTICE OF MOTION

  PAUL PARMAR, et. al.

                             Defendants.
  ----------------------------------------------------------X

          PLEASE TAKE NOTICE, that upon the associated Memorandum of Law, the Defendant

  PAUL PARMAR shall move the Court, at a time and date to be set by the Court, for an order:

          1. Pursuant to Fed.R.Civ.P. 12(b)(6), dismissing the Complaint for failure to state a

               plausible cause of action;

          2. Pursuant to Fed.R.Civ.P. 12(b)(7) and 19, dismissing the Complaint for failure to join

               three necessary parties, Bank of America, Chinh Chu and Truc To; and

          3. Such other and further relief as the Court deems appropriate.



                                                       Respectfully submitted,



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